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                                                            May 23, 2022


VIA ECF
Hon. John P. Cronan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

                                             RE: Salveson v. Related Management Company, L.P. et al.
                                                 Case No.: 21-cv-10929-JPC

Dear Judge Cronan:

        My firm, Belkin Burden Goldman, LLP, was retained today by defendants Related Management
Company, L.P. (“Related”) and 17th and 10th Associates LLC aka 17th and 10th Associates Inc. (the
“Condo”) in the referenced action. Upon checking the court’s docket, I learned that Related’s and the
Condo’s time to answer the complaint purportedly expired, and that plaintiff’s counsel is seeking to enter
default judgments against both defendants. I therefore write to respectfully request that the Court grant
Related and the Condo additional time to answer or otherwise respond to the complaint.

       According to the docket, the affidavits of service pertaining to Related and the Condo were filed on
April 21, 2022 [ECF Doc Nos. 12 and 13], and prescribe that the time for Related and the Condo to answer
the complaint was February 10, 2022. I note that service was made on the NYS Department of State, Division
of Corporations (the “DOS”), and in my recent experience, the DOS is regularly taking several months to
forward served pleadings to registered agents in order to advise defendants of such service of process.

        The parties are engaging directly in settlement negotiations. I am advised that Related and the Condo
were told only late last week that plaintiff was proceeding to enter default judgments against them. As a
result, both defendants retained my firm today to appear in the action and represent their interests. I am
further advised that Related and the Condo did not believe that plaintiff would enter a default judgment
against them while they are negotiating in good faith.

       I spoke today with plaintiff’s counsel, Gregory Byrnes, Esq., and requested plaintiff’s consent to the
within application to extend the time for Related and the Condo to answer or otherwise respond to the
complaint. Mr. Byrnes responded that plaintiff would object to any such request, and therefore, Mr. Byrnes
was no able to consent to the relief requested in this application.
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United States District Judge
May 23, 2022
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        I respectfully submit that there is no prejudice to plaintiff or any other party to the granting of the
within application. I note that the other defendants have not answered the complaint, yet, and their time to
do so was extended most recently to June 1, 2022. I request additional time to June 20, 2022, to answer or
otherwise respond to the complaint, in order to afford me time to investigate the underlying claims made by
plaintiff in the complaint, and to determine whether the elements for diversity jurisdiction in this court are
satisfied by plaintiff.

       Based on the foregoing, I respectfully request that Related Management Company, L.P. and 17th and
10th Associates LLC aka 17th and 10th Associates Inc.’s time to answer or otherwise respond to the
complaint herein be extended to June 20, 2022. There has been no prior request for an extension of time to
respond to the complaint made by either Related or the Condo.

       Thank you for your attention to this application.



                                                             Respectfully submitted,



                                                             Jay B. Solomon

cc: All Attorneys (VIA ECF)




          The request is granted. Defendants Related Management Company, L.P. and 17th and 10th
          Associates LLC shall answer or otherwise respond to the Complaint by June 20, 2022.

               SO ORDERED.                    ______________________
               Date: May 24, 2022                JOHN P. CRONAN
               New York, New York             United States District Judge
